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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ALABAMA
                                 MOBILE DIVISION

REGINALD JONES, BERNARD WOULARD,                     )
KENNETH NETTLES                                      )
                                                     )
      Plaintiffs,                                    )
                                                     )
vs.                                                  )      CASE NO.
                                                     )
SOUTHERN INTERMODAL XPRESS,                          )
LLC, LAZER SPOT, INC., LAZER SPOT                    )
HOLDINGS CORP.                                       )
                                                     )
                                                     )
      Defendants.                                    )
                                             /

                                         COMPLAINT

      COME NOW, the Plaintiffs REGINALD JONES, BERNARD WOULARD, and

KENNETH NETTLES, by and through the undersigned counsel, sue SOUTHERN

INTERMODAL XPRESS, LLC. In support of these suits, Plaintiffs allege the following:

                                           PARTIES

      1.       Plaintiffs, REGINALD JONES, BERNARD WOULARD, and KENNETH

               NETTLES, (hereinafter collectively referred to as “Plaintiffs”), gained

               employment and/or worked for Defendant SOUTHERN INTERMODAL

               XPRESS, LLC on or after April 1, 2015.

      2.       Plaintiffs are residents of the State of Alabama and were employees of Defendant

               SOUTHERN INTERMODAL XPRESS, LLC within the three (3) years before

               the date on which this Complaint was filed. At all times material herein, Plaintiffs



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         were employees of Defendant SOUTHERN INTERMODAL XPRESS, LLC

         within the meaning of the Act, 29 U.S.C. § 203(e)(1).

3.       Defendant, SOUTHERN INTERMODAL XPRESS, LLC, is an Alabama for-

         profit Limited Liability Company duly licensed and organized under the laws of

         the State of Alabama and is engaged in the business of, but not limited to,

         providing a range of container drayage, flat bed, bulk hauling, and warehouse

         services.

4.       Based on information and belief, Defendant SOUTHERN INTERMODAL

         XPRESS, LLC’s principal place of business is in Mobile, Alabama, is at 620 Bay

         Bridge Road, Mobile, Mobile County, Alabama 36610.

5.       Defendant SOUTHERN INTERMODAL XPRESS, LLC, at all times material,

         are “employers” of Plaintiffs within the meaning of the FLSA, 29 U.S.C. §

         203(d).

                           JURISDICTION AND VENUE

6.       This Court has subject matter jurisdiction over this action pursuant to 29 U.S.C.

         §§ 206, 207, and 216(b), which provides that suit under the Federal Labor

         Standards Act (hereinafter “FLSA”) “may be maintained against any

         employer…in any Federal or State court of competent jurisdiction.”

7.       This Court has federal question jurisdiction over this action pursuant to 28 U.S.C.

         §1331.

8.       Venue is proper in this District pursuant to 28 U.S.C. §1391(b) as Defendant

         Intermodal and Defendant SPOT do/did business within this District. In addition,


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         a substantial part of the events and omissions giving rise to the claims pleaded in

         this Complaint occurred within this District.

                                   CAUSES OF ACTION

            COUNT I – FAILURE TO PAY OVERTIME UNDER THE FLSA

9.       Plaintiffs re-alleges and incorporates Paragraphs one (1) through eight (8), as if

         fully set forth herein.

10.      The Defendant, SOUTHERN INTERMODAL XPRESS, LLC (hereinafter

         referred to as “SIX, LLC”), is an employer and enterprise engaged in interstate

         commerce.

11.      Defendant SIX, LLC, as part of their business, would engage in interstate

         commerce by, but not limited to, processing credit cards which are instruments of

         interstate commerce, transacting business with foreign corporations which were

         part of interstate commerce, purchasing products, equipment, materials, and

         supplies from dealers, wholesalers, suppliers, and retailers out of state which were

         part of interstate commerce, by advertising on the World Wide Web and other

         mediums to potential clients outside the State of Alabama, and by transacting

         business across state lines, all of which are part of interstate commerce.

12.      Furthermore, Defendant SIX, LLC obtain, exchange, and send/receive funds to

         and from outside of the State of Alabama, use telephonic transmissions going

         outside of the State of Alabama to conduct business, and transmit electronic

         information through computers, the internet, via email, and otherwise outside of

         the State of Alabama.


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13.   The Defendant, SIX, LLC, has annual revenue of at least five hundred thousand

      dollars ($500,000.00).

14.   Defendant SIX, LLC control the day to day operations of their freight and

      warehouse services business and are actively involved in the day to day

      operations of same including matters concerning hiring, firing, payroll, setting

      policies, making procedures, setting goals and quotas, marketing, establishing

      services to offer, setting product and services pricing, and other business

      operations.

15.   Defendant SIX, LLC supervise/supervised the operations of their freight and

      warehouse services business including hiring and firing employees, setting work

      schedules for the employees, and providing work assignments for employees.

16.   At all times material herein, Defendant SIX, LLC controlled Plaintiffs’ day to day

      activities, supervised, and/or had operational control over Plaintiffs. Defendant

      SIX, LLC was responsible for hiring the Plaintiffs, having the ability to terminate

      Plaintiffs, setting Plaintiffs’ rate of pay, determining if overtime was to be paid,

      determining if bonuses/commission(s) were to be paid, setting Plaintiffs’ work

      schedules including the number of days and hours worked, determining and

      assigning Plaintiffs’ work duties, and supervising them.

17.   While employed as spotter drivers for Defendant SIX, LLC, Plaintiffs’ work

      duties included, but were not limited to, moving/spotting freight trailers on

      Defendant SIX, LLC facilities and/or moving/spotting freight trailers from the

      trailer yard to various loading docks/bays at the plant/facility.


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18.   During their employment with Defendant SIX, LLC as spotter drivers, Plaintiffs

      did not make any interstate deliveries or transports.

19.   During their employment with Defendant SIX, LLC as spotter drivers, Plaintiffs

      were not reasonably expected to be asked to make interstate deliveries or

      transports.

20.   Plaintiffs’ duties and/or continuing duties did not affect or have substantial direct

      effect on the safety of operation of motor vehicles in transportation on public

      highways in interstate or foreign commerce.

21.   If Plaintiffs were involved in any “safety-affecting” activities, such were so

      trivial, casual, and insignificant as to be de minimis.

22.   Plaintiffs’s were “non-exempt” employees of Defendant SIX, LLC.

23.   Plaintiffs were not exempt from overtime under the Motor Carrier Act exemption,

      29 U.S.C. § 213(b), because they were not a “driver,” “driver’s helper,” “loader,”

      or “mechanic” as those terms are defined in the regulations related to 29 U.S.C. §

      213(b).

24.   Additionally, and/or alternatively, Plaintiffs’ duties performed as spotter drivers

      for Defendant SIX, LLC are not within the jurisdiction of the Department of

      Transportation (DOT).

25.   Plaintiffs were hourly employees for Defendant SIX, LLC.

26.   Plaintiffs worked the number of hours required of them by Defendant SIX, LLC,

      but were not paid for each and every hour worked during a work week.




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27.   Defendant SIX, LLC suffered and permitted Plaintiffs to work for them but did

      not pay them for all work that they performed.

28.   Plaintiffs worked over forty (40) hours during one or more work weeks during

      their employment with Defendant SIX, LLC, but were not paid overtime

      compensation at the proper overtime rate by Defendant SIX, LLC for those hours

      worked over forty (40) in a work week.

29.   Defendant SIX, LLC paid Plaintiffs straight time, rather than time and a half, for

      all hours worked by Plaintiffs over forty (40) in a workweek.

30.   The records concerning the hours worked by Plaintiffs are in the exclusive

      possession and sole custody and control of Defendant SIX, LLC. Therefore,

      Plaintiffs are unable to determine and state the exact amount of damages due.

31.   Defendant SIX, LLC actions in failing and/or refusing to pay Plaintiffs the

      applicable overtime compensation, as required by the FLSA, were willful and not

      in good faith.

32.   Defendant SIX, LLC hired Plaintiffs to work for them at/on their

      facilities/properties in the Mobile, Alabama, area.       Plaintiffs worked with

      Defendant SIX, LLC within the three years before the date on which this

      Complaint was filed.

33.   During their time as employees of Defendant SIX, LLC, Plaintiffs worked as and

      performed the essential duties of a spotter driver for Defendant SIX, LLC.




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34.   On average, Plaintiffs worked between fifty-five (55) and sixty (60) hours in a

      workweek for Defendant SIX, LLC and sometimes worked in excess of 60 hours

      in a workweek.

35.   Section 207(a)(1) of the FLSA prohibits an employer from employing its non-

      exempt employees for a work week longer than forty (40) hours, unless such

      employee receives compensation for all hours he or she is employed in excess of

      forty hours at a rate not less than one and one-half times the regular rate of pay.

36.   Plaintiffs were not exempt from receiving overtime compensation under the

      FLSA.

37.   Defendant SIX, LLC employed Plaintiffs in excess of forty (40) hours in at least

      one work week without paying them at a rate of one and one half (1 ½) times their

      regular rate of pay for all hours worked in excess of forty (40) in the work week

      as required by the FLSA, and thus have violated the Plaintiffs’ rights under § 207

      of the FLSA.

38.   As a consequence of Defendant SIX, LLC’s violation of the FLSA, Plaintiffs are

      entitled to one and one half (1 ½) times their regular rate of pay for all hours they

      worked in excess of 40 hours for each week they were employed by Defendant

      SIX, LLC and for which they were not paid one and one half times (1 ½) their

      regular rate.

39.   Defendant SIX, LLC knew and were aware at all times that Plaintiffs worked

      more than forty (40) hours per week without receiving the appropriate overtime

      compensation.


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40.    Defendant SIX, LLC failed and refused to properly compensate Plaintiffs at the

       proper overtime rate for each hour worked in excess of forty (40) in a work-week.

41.    Defendant SIX, LLC knew, or showed reckless disregard for the fact, that their

       failure to pay Plaintiffs as alleged herein was in violation of the FLSA.

42.    The actions of Defendant SIX, LLC complained of herein were willful within the

       meaning of 29 U.S.C. § 216(b).

43.    Because of Defendants’ actions, Plaintiffs have retained the undersigned

       attorneys, and Defendant SIX, LLC is obligated to pay them a reasonable fee for

       their services pursuant to the FLSA.

44.    As a result of the unlawful acts of Defendant SIX, LLC, Plaintiffs has been

       deprived of overtime compensation in amounts to be determined at trial, and is

       entitled to recovery of such amounts, liquidated damages, attorneys’ fees, costs

       and other compensation.

WHEREFORE, Plaintiffs prays that this Honorable Court:
      A.   Enter judgment for Plaintiffs and against Defendant SIX, LLC on the basis of

           Defendants’ willful violations of the overtime provisions of the Fair Labor

           Standards Act, 29 U.S.C. §207, as to the Plaintiffs;

      B.   Award Plaintiffs actual and compensatory damages in the amount shown to be

           due for unpaid overtime compensation;

      C.   Award Plaintiffs an equal amount in liquidated damages;

      D.   Award Plaintiffs reasonable attorney's fees and costs of suit;




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           E.   Enter a declaration that the spotter drivers employed by Southern Intermodal

                are not exempt from receiving overtime compensation under the FLSA.

           F.   Enter a judgment according to the declaratory relief sought; and

           G.   Grant such other and further relief as this Court deems equitable and just.

           H.   Plaintiffs demands a trial by jury.


                     PLAINTIFFS DEMAND A TRIAL BY JURY




DATED this 27th day of November, 2017.




                                           Respectfully submitted,

                                           /s/ Jeremiah J. Talbott
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